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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     No. CR S-02-0213-MCE-CMK
                                                       CIV S-06-2409-MCE-CMK
12                  Respondent,

13          vs.                                    ORDER

14   GABRIEL ORTIZ-VILLALOBOS,

15                  Movant.

16                                        /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to Eastern District of California local rules.

20                  On September 17, 2007, the magistrate judge filed findings and recommendations

21   herein which were served on the parties and which contained notice that any objections to the

22   findings and recommendations were to be filed within 20 days. Timely objections to the findings

23   and recommendations have been filed.

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 1                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 72-

 2   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

 3   file, the court finds the findings and recommendations to be supported by the record and by

 4   proper analysis.

 5                  Accordingly, IT IS HEREBY ORDERED that:

 6                  1.        The findings and recommendations filed September 17, 2007, are adopted

 7   in full;

 8                  2.        Movant’s motion pursuant to 28 U.S.C. § 2255 (Doc. 313 in the criminal

 9   docket) is denied; and

10                  3.        The Clerk of the Court is directed to close companion civil case no. CIV

11   S-06-2409-MCE-CMK.

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      Dated: December 4, 2007
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14                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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